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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION


FORD MOTOR CREDIT CO., L.L.C. ,                  )
                                                 )
                       Plaintiff,                )
                                                 )
V.                                               )
                                                 )
REAGOR-DYKES AMARILLO, L.P., et al.,             )
                                                 )
                       Defendants.               )    Civil Action No. 5: 18-CV-186-C

                                             ORDER

       Defendants Reagor-Dykes Amarillo, L.P. , Reagor-Dykes Auto Company, L.P.,

Reagor-Dykes Floydada, L.P. , Reagor-Dykes Imports, L.P. , Reagor-Dykes Motors, L.P. , and

Reagor-Dykes Plainview, L.P. filed a Suggestion of Bankruptcy on August 2, 2018. The Court

takes judicial notice that on August 1, 2018, each of these Defendants filed petitions for

bankruptcy under Chapter 11 of the United States Bankruptcy Code. Pursuant to Section 362 of

the Bankruptcy Code, an automatic stay is now in effect as to these Defendants.

       On August 3, 2018, the Court vacated the hearing on Plaintiffs Application for Writ of

Sequestration as to these Defendants and ordered the remaining parties to show cause why the

hearing should not be vacated in its entirety. Defendants Reagor-Dykes II, L.L.C., Reagor-Dykes

Auto Mall I, L.L.C., Reagor-Dykes III, L.L.C., Bart Reagor, and Rick Dykes filed their Response

to Order to Show Cause on August 6, 2018 . Plaintiff Ford Motor Credit Company, LLC also

filed its Response to Order to Show Cause on August 6, 2018 . Having considered the foregoing,

the Court finds that there is no need to proceed with Plaintiffs Application for Writ of

Sequestration. Accordingly, the hearing set for August 8, 2018, is now VACATED as to all
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parties. The Court declines Defendants' request to stay this action in its entirety for the reasons

stated in Plaintiff's Response to Order to Show Cause.

       IT IS ORDERED that Plaintiff's claims against Defendants Reagor-Dykes Amarillo, L.P.,

Reagor-Dykes Auto Company, L.P., Reagor-Dykes Floydada, L.P., Reagor-Dykes Imports, L.P.,

Reagor-Dykes Motors, L.P., and Reagor-Dykes Plainview, L.P. are SEVERED from the above-

styled and -numbered civil action. To manage the Court's docket more efficiently, the newly-

severed action is ADMINISTRATIVELY CLOSED without prejudice to its being reopened if

the stay is lifted or the debtors are not discharged at the conclusion of the related bankruptcy

proceeding. 1

       IT IS FURTHER ORDERED that Plaintiff shall file an amended complaint addressing

any claims it wishes to pursue against the non-severed Defendants on or before August 17, 2018,

and Defendants shall answer or otherwise respond to such amended complaint on or before

August 31, 2018 .

       The Clerk of the Court shall forward a courtesy copy of this order to the Honorable

Robert L. Jones, United States Bankruptcy Judge.

       SO ORDERED this 6th day of August, 2018.




        1
         A party may petition the Court to reopen the case to address any matter within the
jurisdiction of this Court only by showing cause why such matter does not fall within the
protections of the bankruptcy stay.

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